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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )

Plaintiff,
Vs. Case No. CR-10-43-D
MEHRAN KORANKI,

Defendant.

MOTION TO QUASH SUBPOENA, OR IN THE ALTERNATIVE, FOR
PROTECTIVE ORDER AND BRIEF IN SUPPORT

COMES NOW Saeed Corangi, a nonparty Movant, and in support of his
Motion To Quash Subpoena, or in the Alternative, for Protective Order and Brief
in Support and pursuant to Rule 45(d) of the Federal Rules of Civil Procedure,
respectfully requests this Court to quash the subpoena issued by the U.S.
Attorney’s Office dated 4/30/2015 directed to JP Morgan Chase Bank, NA
requesting the production of personal banking information relating to Movant. In
support of his Motion, Movant submits the following brief and legal authorities.

BRIEF IN SUPPORT OF MOTION TO QUASH
OR, IN THE ALTERNATIVE, FOR PROTECTIVE ORDER

STATEMENT OF THE FACTS

On April 30, 2015, a Notice To Produce Documents was filed by Plaintiff,
United States of America, [Document 100-1] with a copy of a Subpoena To

Produce Documents, Information, Or Objects Or To Permit Inspection Of
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Premises In a Civil Action which, according to the Notice, said Subpoena was
served on JP Morgan Chase Bank, NA.

The Subpoena directed JP Morgan Chase Bank, NA, to produce the
following materials:

All documents, banking records and information reflecting
all account information, signature cards, bank statements,
payments, payment instructions, transfers, account holder
information, and balances for accounts for Mehran
Koranki or Saeed Corangi.

The trial of the case was concluded many years ago.

Movant has never been a party to this litigation.

No claims were ever asserted against Movant and his personal financial
information is not relevant.

Although information relative to his financial accounts is sought, notice of
this subpoena was never provided to Movant by Plaintiff or by the financial
institution under subpoena. Movant is not a party to the litigation, but is a “party”
to the subpoena as it is his financial accounts that are sought. Fed. R. Civ. P.
45(a)(4).

The subpoena subjects Movant to undue burden, violates his right to
privacy and due process. The subpoena is overbroad in that the request for

production of documents is not limited to any time period.

ARGUMENT AND AUTHORITIES

Federal Rules of Civil Procedure 45(d)(3)(A) provides in relevant part:
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When required. On timely motion, the court for the district

where compliance is required must quash or modify a

subpoena that: (iii) requires disclosure of privileged or

other protected matter, if no exception or waiver applies;

or, (iv) subjects a person to undue burden.

This subpoena seeks production of a broad range of confidential
financial records. This type of intrusive discovery generally would not be
permitted without some showing of a strong justification. Movant's legitimate
interest in preserving sensitive personal information is in jeopardy.

Plaintiff unilaterally issued the subpoena and, in doing so, ignored
Movant's due process rights. The right to discovery is not unlimited, particularly
when it comes to the exercise of rights vis-a-vis nonparties.

The subpoena is overbroad in that the request for production of documents
is not limited to any time period.

12 U.S.C §3407(1) allows for the production of financial records to a
government authority when in relevant part that “the records sought are relevant
to a legitimate law enforcement inquiry;” and, only if:

(2) “a copy of the subpoena has been served upon the

customer or mailed to his last known address on or

before the date on which the subpoena was served

on the financial institution together with the following

notice which shall state with reasonable specificity

the nature of the law enforcement inquiry...

Movant never received any such notice and is not aware of any such notice

being sent and the request for production is not limited to any specific period of

time.
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This Court is the proper Court to hear this Motion as it is the “issuing” Court
and the entity subject to the subpoena is not the Movant. A nonparty, Saeed
Corangi, is the Movant and there exists “exceptional circumstances” including the
fact that the subpoena arises out of a case which was originally filed, the
Defendant was tried and sentenced in this jurisdiction and this Court has
familiarity with the case, is in the best position to hear and resolve the issues
raised in Movant’s Motion and, to the best information and belief of counsel, the
entity subpoenaed has not filed any objection to the subpoena so it will not be

inconvenienced by this Court ruling on Movant's Motion.

In the alternative, Movant requests this Court enter a protective order
forbidding disclosure of any of his personal financial information as such
disclosure will cause Movant annoyance, embarrassment, oppression and
undue burden.

Federal Rules of Civil Procedure 26(c) provides in relevant part:

...any person from whom discovery is sought may

move for a protective order in a court where the action

is pending... The Court may, for good cause shown,

issue an order to protect a party or a person from
annoyance, embarrassment, oppression or undue burden
or expense, including one or more of the following:

(1) forbidding the disclosure or discovery...

Pursuant to Federal Rules of Civil Procedure 26(c), a certification that

counsel for the movant has conferred with Plaintiff's counsel in an effort to
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resolve this matter without court action is attached hereto as Exhibit 2.

CONCLUSION

WHEREFORE the Movant, Saeed Corangi, respectfully requests that this
Court quash the subpoena, or, in the alternative, issue an appropriate protective

order and that this Court order such other and further relief as the Court deems is

just and reasonable.

Respectfully submitted,

s/ Robert W. Raftery

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Attorney for Movant

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CERTIFICATE OF SERVICE

This is to certify that on the 6" day of May, 2015, | electronically
transmitted the attached document to the Clerk of Court using the ECF System

for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants:

Wilson D. McGarry
Assistant U.S. Attorney
210 Park Ave, Suite 400
Oklahoma City, OK 73102
Attorney for Movant

and mailed the attached document to:

JP Morgan Chase Bank, NA
7610 W. Washington Street
Mail Code: IN1-4054
Indianapolis, IN 46231

s/ Robert W. Raftery
ROBERT W. RAFTERY

